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                               EXHIBIT 2




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                                     7-Eleven, Inc.


                                 December 7, 2023

VIA HAND DELIVERY

Jasjeet Dhillon, Inc.
735 E. Bradley Ave.
El Cajon, CA 92021
Attn: Jasjeet Dhillon

      Re:    7-Eleven Store No. 2112-13646G
             Notice of Material Breach – Failure to Comply With Applicable
             Laws and Maintain a High Ethical Standard (the “Notice”)

Dear Jasjeet Dhillon:

       Jasjeet Dhillon, Inc. (“you” or “your”) operates the 7-Eleven® convenience
store business at 735 E. Bradley Ave., El Cajon, CA 92021 (the "Store") under the
terms and conditions of a franchise agreement, addenda, amendments, and collateral
agreements (collectively, the “Franchise Agreement”) with 7-Eleven, Inc. (“we”,
“us” or “our”). Capitalized terms not defined in this Notice shall have the same
meaning as in the Franchise Agreement.

        The Entity Franchisee Amendment to the Franchise Agreement provides that
all references to “you” in Paragraph 26 of the Franchise Agreement shall include both
you and your Principals, including Jasjeet Dhillon. Additionally, Mr. Dhillon entered
into the Principals’ Guaranty Agreement with us in which he agreed, in his personal
capacity, that he is your Principal and is obligated to perform your obligations under
the Franchise Agreement including, specifically and without limitation, the covenants
and agreements contained in Paragraph 19 thereof. The Principals’ Guaranty
Agreement is attached to the Entity Franchisee Amendment as Exhibit B.

      In Paragraph 19(a) of the Franchise Agreement, you and Mr. Dhillon agreed to
“maintain a high ethical standard in the conduct of the franchised business and in the
operation of the Store.”

       In Paragraph 8(a) of the Franchise Agreement, you and Mr. Dhillon agreed to
“comply with all local, state and federal laws, statutes, regulations, ordinances, and
rules of any applicable governmental entity with respect to the operation, use, repair
and possession of the Store and the 7-Eleven Equipment.”




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       In Paragraph 19(h) of the Franchise Agreement, you and Mr. Dhillon agreed to
“at all times, comply with all laws, rules, regulations, and other legal and
governmental requirements concerning or relating to the operation of the Store,
including without limitation, all labor, wage and hour, and employment laws.”

      In Paragraph 26(a)(3) of the Franchise Agreement, you agreed that we may
terminate that agreement immediately upon notice to you if you or Mr. Dhillon “fail
to comply with any federal, state, or local wage and hour law, or fail to comply with
any federal, state, or local law related to any employment or immigration matter,”
and you acknowledged that the foregoing “is a Material Breach and good cause for
termination.”

       In Paragraph 26(a)(7) of the Franchise Agreement, you agreed that we “may
terminate that agreement immediately upon notice to you” if “we have evidence that
you [or Mr. Dhillon] have engaged in any dishonest, unethical, immoral, or similar
conduct as a result of which your [or Mr. Dhillon’s] association with the Store could,
in our sole opinion, have a material adverse effect on the goodwill associated with
the 7-Eleven System or the 7-Eleven Marks,” and you acknowledged that the
foregoing “is a Material Breach and good cause for termination.”

Material Breaches:

      Mr. Dhillon has failed to comply with the terms of the Franchise Agreement
and the Principals’ Guaranty Agreement. He has failed to maintain a high ethical
standard in the conduct of the franchised business and in the operation of the Store
and he has engaged in conduct that violated the law.

      Specifically, Mr. Dhillon assaulted, battered, and/or sexually harassed
one of his employees in the back room of a 7-Eleven store that he operates.
As a result of this conduct, a restraining order has been entered against Mr.
Dhillon. In addition, Mr. Dhillon took steps to conceal evidence of the
foregoing conduct by forcibly removed video equipment containing footage
of that conduct and, in the course of doing so, damaged 7-Eleven property.

      As discussed above, each instance of the foregoing conduct constitutes a
Material Breach of the Franchise Agreement. Moreover, such conduct could have,
and/or has had, a material adverse effect on the goodwill associated with the 7-
Eleven System or the 7-Eleven Marks. Such conduct also reflects materially and
unfavorably upon the operation and reputation of your franchise businesses and the
7-Eleven System.

Reservation of Rights:

      By issuing this Notice, we are not waiving our rights under the Franchise
Agreement, at law or in equity. In addition, we may take the following actions without
waiving our right to (i) terminate the Franchise Agreement because of your Material
Breach of the Franchise Agreement; (ii) declare a forfeiture of the Lease of the Store
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DATE OF SERVICE:

     By certified mail,                        In person to Jasjeet Dhillon
     return receipt requested                                            Franchisee
                                                                         Other Employee
Date postmarked                                Dropped in Safe
                                               with a follow up phone call/text/e-mail to
                                               Franchisee        Yes     No
                                               If phone call,          spoke directly to
                                                                       Franchisee
                                                                       left voice message
                                      Time 11:00a.m.                      a.m./p.m.
                                      Date December 7, 2023
                                      By: Tim Hall – Director, Asset Management
                                      Title:      Market Leader       Area Leader

c:     Area Leader
       Legal (sandy.saden@7-11.com)
       Store File




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